                                                                                                                          y       ..                                                                                                                         r
                                                                                             f                            !
                                                              Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 1 of 15
        ix                   ...:.:.'
                         .r      %
                                  %k'
                             *       ..
                                                  '                             g
                                                                                '                                                                                                          qjkp                        qEczlvp
             .                          . .
                                                                            .
                 ..
                 .
                                              î           .
                                                                                '
                                                                                                                              ,                                                            rju js                      js u pCN
         .
                         -                                                                                             :                                                                                 x uysrj
                                                                                                                                                                                                               .a m l
                                                                                                                                                                                                                    o y qgsiq;

    '
    '
    .    .                                        'aymond n.ikowel
                                                  R              !                                             '                                                                                   JUt 11 2111
                                                  N ame .                           .
                                                  Hc 30 Box 272                                                                                                              '
                                                                                                                                                                                            CkEllKOSD5 RI CTCQURT                                            .
                                                      '
                                                  Spring Creek,*9 89815
                                                               .                                                                                                             .
                                                                                                                                                                                     By:      gjsp lc'r0FNEVD A .DrptrrY                                     1

                                                  Phone:(775)744.
                                                                .
                                                                4381
                                                  PrisonN um ber                                                                                                                                                                          .
                                                                                                                      UNITED STATES DISTRIW CO URT
                                                                                                                           DTSTW CT 01 NEVADA '
                                                      '                                                                                                                                                                                                      !
                 .                                    Raymondo.Yowell                                                                                  )                                                                            -1
                  .
                                                                   .                                                  plakntiff                        )                     .
                                                                                                                                                       )                                                                            :
                                                                       vs.               .                             -
                                                                                                                                                       )       cAs:No. i 3.
                                                                                                                                                                          .1l-cv-oosl8 )                                                                     i
                                                                                    .,  -                          z..
                                                                                                                     ,
                                                                                                                     -.                                )                                 rroik                                      j
                                                      RobedAbb'
                                                              ey,HelenHankiös,TheDet                                                                   )                     '             ,(                                       :                        .
                                                      O reasury lnanaalManagementSvGs.      '                                                          )            '       k            -----
                                                      TheAlliedInterstate,lnc.,PioneerCre it                                                           )       CIVK I W GH'I'
                                                                                                                                                                            S COM PLAINT                                                                     r
                                                          ecm ery,Inc.The CBE,Inc.,Jim Coç
                                                                                         '
                                                                                           noly                                                        )
                                                                                                                                                       e                     '
                                                                                                                                                                                 PUR SU ANT TO                                                               j
                  .
                                                      DennisJurœian,Jim Pitts,Ma
                                                                        .
                                                                               ;
                                                                                 rkTowi
                                                                                      ,
                                                                                        qen                                                            )                      42U.S.C.j19:3
                                                                                                                                                                             jjvensAction
                                                                            .                                                                          )
'
                  .                                   cookofotah,                                                                                      )                         25U.s.c.478
                                                                                                                                                       )
                                                      JohnandJane Does 1-12                                                                                1                         '                                                           .
                  '                                                                                            Defendantts).                               )                     '
                                                                                                                                                                                              .                                                  '
                                                                                                                                                                                                                                                 i
                                                                                                                                                                                     :                                          .
                                                                                                                                        A.JURB DICTIO N .
                                                                                                                                                                                 '   !
                 '   .
                                                                       1)                n iscomplaintallegesthattl,ecivilrighu or.
                                                                                                                                  plaintim naymonuo.voweîl
                 E,                                                                                                               .
                                                                                                                                  '          t'
                                                                                                                                              PrintPlaintiff'sname)                                                                                          I
                                                                                                                                                                                                                                                             '
                 :
                 '                                                                                                    .                                                          ''
                 :
                 l;                                                                      who presently rrsidesatw estern shoshone south Fork lndi
                                                                                                                                                an Resewati
                                                                                                                                                          on. were                                                                       '
             '

                     .                                                                   violated by theacuonsofthebelow namedindividualswhichweredireoted against
                 (.                                                                                                                                                              ::
                                                                                                    S 35 .
                                                                                                         R 56 E T 31 N in Elko Codn'
                                                                                                                                   tyNevada                                                              on the following dates
                 :'                                                                      Plaintis at ec ,      ,           -
                 :
                 :
                                                                       '                                                      (lnstitution/citywhereviolationocourrod)                                    '
                                                                                                                                                               '                 1)
                 '                                                                       May24,2002                                              May24,2002.May 31,2002                            and May 24,2002.May 3),2002
             .'
                     '
                                                                                                 .
                                                                                                               (Count1)                                        (Count'r:
                                                                                                                                                                       f)                                         (Countifl)
                 :.                                                                      May24 & 31,2002                                                       Continuing
                     '                                                              '                          (CountIV)                                           lcotlntV)                                                                                 '

                                                                   pu u                              -     -
                                                                                                                V ; Jo c o.                                                      ..                        .,                                        ,
                                                                                                                                                                                                                                                     !       ,
                     '
                                                                   j.
                                                                    %'.
                                                                      %%-.
                                                                         .
                                                                         6-
                                                                         .-5-.
                                                                             -O-.
                                                                                -.lnLial
                                                                                       sc:
                                                                                         y '                                                                        .
                                                                                                                                                                    -:3..-..L
                                                                                                                                                                    '             .               .:1
                                                                                                                                                                                                    'k
                                                                                                                                                                                                         .                                           l '
                                                          ,.
                                                                                                         ... . .- .    ..,. ,s.i.. . .. .   : ,<....
                                                                                                                                                 7
                                                                                                                                                 *...
                                                                                                                                                       .'
                                                                                                                                                       .       ! 'u
                                                                                                                                                               .
                                                                                                                                                                    .
                                                                                                                                                                     '* .
                                                                                                                                                                       .
                                                                                                                                                                        .
                                                                                                                                                                          ....,
                                                                                                                                                                              e..
                                                                                                                                                                            . .'*'
                                                                                                                                                                                                  . .z
                                                                                                                                                                                                     '
                                                                                                                                                                                            ' c- ...-I-.L':
                                                                                                                                                                                                          '
                                                                                                                                                                                                          i1
                                                                                                                                                                                                           .
                                                                                                                                                                                                              :
                                                                                                                                                                                                                      --2   -   -   --   - -.-   -
                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                        .                            .
'




                      Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 2 of 15




                                            Makeacopyofthispagetoprolldethebelow
                                     informationifyouarenamingmorethinfive(5)defendants
                2)DefendantRobertAbbey                residesat1849C.St.N.W .WashD.C.20240
                            (111nameoffirstdefendant)               (addressifftrstdefendant)
                     and isem ployed asNationalDirectorofBLM                   .     Thisdefendantissued in his/her
                                           (defendant'spositionandtitle,ifany)
                      x individual X        officialcapacity. (Check oneorbloth). Explain how thisdefendantwms
                acting                                                         .
                     undercoloroflaw :This Defendantaded undercolorofregûlati
                                                                            on and informalestablished procedure
                     when he and those actin'
                                            g underhis authori
                                                             tysiezed the Plaintiffs'livestock w i
                                                                                                 thouta warrantorcourt
                     order                                                     r                                j
                                                                               '
                                                                                                               l
                                                                               i                               j
                3)DefendantHelenHankins                           residesat2850YoungfieldSt.,Lakewood.C0:
                                                                                                        80215
                                    (fu11nameofftrstdefendant)                      (address.iffirstdefendant)      j
                     and isem ployed aqDistri
                                            d ManagerofElko County NV BL&           . Thisdefendantis sued in his/her
                                           (defendant'spositionandtitle,ifari
                                                                            y)
                     x individual x         om cialcapacity.(Check oneorb'  oth).Explain hoF thisdefendantwas
                acting          .                                              .
                                                                               )
                     undercoloroflaw:ThisDefendantacted undercolorofregu   'Iation and informalestablished procedure
                     when she andthose ading underherauthoritysei
                                                                zed the Plai
                                                                           itiffs'Iivestockwithouta warrantorcourt
                     order.                                             .      '
                                                                               .
            .
                4)DefendantDeptofTreasury,FinMgmtSvces rzsidesatP.6.BOX1686,Birmingham AL35201-1686.
                            tfullnameoffirstdefendant)             : (addressiffirstdefendant)
                     and isemployed mqsame                                     . . This defendantissued in his/her .
                                           'tdefendant'spositionandtitle,ifany)
                          individual x       om cialcapacity. (Check oneorb8
                                                  .                          It1l). Explain how thisdefrndantwas                 '
                acting                                                         t
                     undercoloroflaw:ThisDefendantpursued an all eged debtlstemming from the seizureofthe Plaintiffs'            '
                     Iivestock,andiscumentlydedudingfundsfrom the Pl
                                                                   ainti
                                                                       ffs'iocialsecuri
                                                                                      tycheckto satisfythe
    '                a ege e ,even toug e a1nI as never a anopportunltyto een agalnstte un e ylng
                     basisofthe originalcharges.                '
                                                                .                                                        1

                5)DefendantAlliedInterstate,lnc.     residesatP.O.B0x26220,MinneapolisMN 55426
    .
                            (111namcofGrstdefendant)            ' (addressifsrstdefendant)
                     and isemployed as same                                        .. Thisdefendantissued in his/htr
        '
                                           (defendant'spositionandtitle,ifany)
                     X individual           om cialcapacity. (Check oneorboth). Explain ilow thisdefendantwas
                acting
                 '
                     undercolorofIaw:ThisDefendantpursuedanallegedebtjtemmi
                                                                          ngfrom theseizureofthePlaintiffsf                  '
                 Iivestock eventhough the Plainti: hasneverhad an oppoftunityto defendagainstthe underlying basis
                 o e onglna c arges.                                       '
                                                                    2

                                                                               J
                                                                               !
                                                               J
                         Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11? Page 3 of 15
                                                               :
                                                               1
                                                               i
                                                                                    ;      l
                                                                                    J
                                                 M ake a copy otthispage to prowide the below
                                                                         '
                                                                                                          '
                                      informationifyouarenaniingmoretha!lflve(5)defendants
                    2.
                     )DefendantPioneerCreditRecovery,Inc. residesatP.O.8OX189'ArcadeNY14009-0189
                                (fullnameof5rs-tdefrndant)            . (addressiffzrstdefendant)
                      and is employed msSame                                        . . Thisdefendantissued in his/her          .
                                              (defendant'spositlonandtitle,ifany)
'                     x individual             officialoapacity. (Check oneorboth).Explain how thisdefendantwas
                    acdng                                                           '
                                                                                    1
                      ndrrx joroflaw :ThisDefendantpursued an plleged debtktemming from the seizureofthe Plaintiffs'
                     P
                     l
                     lvestockeventhoughthe Plainti
                                                 ffhasneverhad an o oduni'to defend a ainstthe underlin b si                            !
                               rlglna ()arges.                                      .

                    3)DefendantTheCBE group,Inc.           residesat131i
                                                                       ,TowerpkDr, ste100,watedooIA507q1
                                (1 11nameoffirstdefendant)             l (addressiffirstdefendant)       .
                      and isemployedasP me                                          l .Thisdefendantissurdin his/ber
                                                 (defendant'sposition and title,ifan#)
                         x individual             oflicialoapacity.(Chock oneorbp   'th). Explain how thisdefendantwms
        '             ting                                                          '
                    ac
'                       yjtjsrcojorofjaw:YhisDefendantPursued analleged debtktemming from the seizureofthe Plaintiffs'
    .
                      Ilvestock even though the Plaintiffhasnever
                      P                                        - had
                                                                   . an.oppor
                                                                          - tuni. to defend a ainsttheund rlin  '
                                       a ges                                    p                                           '
                                                                                    r                                               .
                    4)DefendantCookUtabofDucbesne          residesatDtl
                                                                      ghesne,UT(otheraddressunknown)
                                (1 11nameofflrstdefendant)            ' (addressiffirstdefcndant)
                         andistmployedmq                                            ' .Thisdefendantissuedinhis/her
                                                 '
                                                 ldefendant'spositionandtitlc,ifadyl
                         z7 individual x          officialcapacity. (Cheok.
                                                                          oneorbp 't.
                                                                                    b). Explain how thisdefendantwms                    .
            .
                    acting                                                        l
                           (jergojorofjaw:PbisDefendantwasadingasanagentJftNe9LM and articiatedinth                  nted
                      tm
                                                          Ns'livestock pursuantonlytYregul
                         Seizure and transporto the Plainti                     .
                                                                                         ation.                                         '
                                                                                    i
                                                                                    !
                    s)oef-
                         endantJosnooe1                     residesatoumesne,u.r(otheraddressunknowp) .
                                (111nmneoffrstdefendant)                l (addressiffirstdefendant)                         ,
                .
                      andisemployedas                                   l .Thisdefendantissuedinhis/hcr
                                       (dtfendant'spositionandtitlezifarlyl
                      M fndividualx omcialcapacity.(Checkoneorb1cth).Explainh0w tllîsdefrndantwas
                                                                        !           '
                     acung                                                          j
                                             ThisDefendantwasactingasanagentJftNe8LM andpadicipatedintheMnwarranted
                         underG0lOroflaw :                                          '
                         selzure and transporto te Plaintiffs'livestockptzrsuant(m lyt%regul
                                                                                -          ati
                                                                                             on
                                                                                    1
                                                                                    f
                      Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 4 of 15




                                                                          1
                                                                          !                    '
                                         M ake a copy ofth1.
                                                           1page to pro>lde the below
                                   informationifyouarenaiingmoretharfive(0 defendantq
                               JohnDoe2                        resid:satadiressunknown                                  '
                    2)Defendant                                           ,                                     .
                                  tf'
                                    ullnameoffirstdefendant)              i (addrrssifflrstdefendant)
                      and isem ployed asempl
                                           oyee ofCook                    :     Thksdrfendantis sued in his/her
                                         (defendantlspositgonandtitlezifany)
                      <
                      .
                        individual        offioialcapacity. (Cbeok oneorbàthl.Explain how thisdefendantwmq
        j acting                                                          i

        i undercolorpflaw;ThisDefendantwasa-ctingas.ana-gent)theBLMandpadicipatedintheun-
        j
        j Warranted Selzure and transportOfthe Pl
                                                ainti
                                                    ffs'Iivestock pursuantonlyto regulation
        I                                                   -         j
            J                                                             '
.
            k
            '       3)DefendantJohnDoe3                   residesataddressunknown
            è                   tfullnameofirstdefendant) '           . (addresslfGrstdefendant)
            :
            .
                      andlsemployedasemployeeofCook                   ( Tlûsdefendantissued in his/her
            '                            (defendant'spositionandlitle,ifanll
            (         x individual        offioialcayaoity. (Check oneorbhthl.Explain how thisdefendantwas
            7
            '
              aotinz
                   h'''                            '                   .l;
            i
            J        undercoloroflaw:Thi  sDefendantwasadingasanagentclftheBtMandpadi         cipatedintheun-
            .        warrantedseizureandtranspodofthePlaintiffs'livestockpurstantonlytorequlati
                                                                                              on            .
            :                                                                l
            :                  Johnooe4                     reside-satadéressunknown
            ,       4)oefendant -                      .                 .                     .                .
            '                     (fullnameofsrs.
                                                tdefendant)              ! (addressiffirstdefendant)
            ,
            .
                      and isemployed as employee ofcook                   , . n isdefbndantissuod in his/her
            E                            'tdofondant'spositionandtitle,ifmiyl
            .
                      x individual         officialcapacity.(Checkoneorbtt. hl.Explainhow thisdofendantwms
                                                                           l
                    aoung
            j                                                              :
            .            (jorqojoryjjpjaw:ThisDefendantWasadingasanagentV the BQM and articiatedinthe n-
            .         lm
            '         WarrantedSelzurean transportOfthePlaintiffs'livestockpurluantonl
                                                                                     ytoreoulation.
            :                                                                  J
                                                                               j                                        4
            J                                                              j                                        '
            J
            .
                    5)DefcndantJohnDoe5                    residesatad'
                                                                      dressunknown
            .
                                (111nameoffirs.tdefendant)            ! (addressiffirstdefendant)
    .
            '         and isem ployed as employee ofcook                   l . Thisdefcndantis sutd in his/htr
            ;                             (defendant'spositionandtitle.ifarky)
            i          x indiviuual        nfficialcapacity. (check oneorbioth). Explain how thisdefendantwas           .
            J                                                              i
            ; acting                                                       j
            J                                                              à
            g            (uroojorpf jaw :Thi3 DefendzntWa5 ading a:an agentOfthe BLM and articiated inthe -
            J         W'
                      Uf
                       alrx nted Sectlre an r'
                                             ansportofthe Pl
                                                           ainti
                                                               ffs'livestock purkuantonfyto renulation
                                                                                               .
        ':                                     .
        :
        (E@                                                                '
        !:                                                                 .
                                                       .           2
        .
            :                                                  .           (
            !
            !                                                              I
                                                                           I                                        '
                                                                           r
                :
        1:                                         '                     '.
                                                                          ;    .


        .       ;                                          .
                       Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 5 of 15
%       I                      .                                                  ,




                                                                                  2
                                                                                  1

                                                                                  I
                                            M akea copy efthispagc to providctllc below
                                     informationifyouarenaniing morethaù(five(5)defendaats
                                                                                  :
                    2)DefendantJohnDoe6                    rejidesataddresstmknown
                                (fu11nameoffl
                                            'rstdefondaat)             1 (address'iffirstdefendant)
                      an
                          d lsemployed asBLM Law Enforcement.                     1
                                                                                  ,    ..
                                                                                            n isdefendantissued inhis/her
                                            (defendant'spositionandtitle,ifany
                                                                             ')
                      x individual x         oflicialcapaciw. fcheck oneorbbthl. Explain how thisdefendantwas
                '
                                                       *
                                                       '
                                                             * ''                 j
                    acdng                                                         ,
                                                                                  7
                        g;rqojorqfJaw;TbisDefendantparticipated in the unwaràanted seizure,transport.and sale of
                     un
                      thePlalntiffs'llvestock pursuantto infqrmalestablished procedure and renul
                                                                                               ation.
                                                                              .
                                                                                  !
                                                                                 f                                                  I
                    3)DeflndantJobnDoe7                             reesjdosatadpressunknown
                                   (111nameofflrstdefendant)                      5 (addressiftirstdefendant)
                                                                                  .                                         '
                      and isemployed as BLM Law Enforcement                       , ; Thisdefendantfs sued fn hls/her

                       x individual x
                                            (odmeflndant'spcsiticmandtitle,ifan7ht)h).Explainhow thisdefendantwas
                                                  oialoapacity.(Chockonrorb'
                                                                                  l
                                 j jwjaw:ThisDefendantparti   cipated intheunwarrantedseizure,transport,andsaleof
                      und
                      the eraç
                          Pl lnotior
                                  Ns'(l
                                      !
                                      tvestockpursuanttoinformalestablishedprocedureandrequlation
                                                                               l
                    4)DefendantJohnDoe8                             residesataddressunknown
                                    (fu11namooffirstdefendant)                    1 (addressift'
                                                                                               irstdefendant)
                       and isomployed mqBLM Law Enforcement                       f         Thisdefondantissuedin his/her
    -                                       '
                                            tdrf:ndant'spesitionandlitll,ifahy
                                                                             i
                                                                               l
                       x individual x        nm cialcapacity.(Cheokq oneorbp   th).Explainhow thisdefendantwas
                                                                                     '
                                                                                     j      '
                    acfng                                                            I
                                                                          '
                                                                                     ;
                                       gjaw:Thi:Defendantparticipated inthe unwa/ranted seizure,transport,and sale of
                      underçolor(?                                                   ;
                      the Plalntiffs'Ilvestock pursuantto inform alestablished procedure and reoulation.                            '
                                                                                   1
                               .
                                                                                   l
                                                                                   1                                                '
                     5)DofendantJohnDoe9                   residesatadpressunknown
        .
                                 (111nameoftirstdefrndant)            , (addressiffirstdefendant)
                                                                      1
                       and isemployed as BLM Law Enforcement                       ! . n isdefendantissued in his/her
                                             (defendant'spositionandtitle.ifml
                                                                             1
                                                                              yl
                        x individual x        officialcapacity. (Check ontorbo th). Explaîn how thisdefendantwms
                                                                             i
.
                     acting                                                  1
            '
                                                                          j
                                 L.jw :Thi
                                         s Defendantpadicipated inthe unwaqranted seizure,transport,and sale of
                      underçolor(? R             .
                      the Pl
                           alntiffa'llvestock pursuantto informalestablished proceedtlre and regulation.
                                                                                   1
                                                                                   !                                            '
                                                                                   i
            :              '
                                                                        7          I
                                                                                   j
            '                                                                      j
                                              '
                                                                                   j
                                                                                   j                           '
                                                                                   3
                                                                                   l          .
               Case 3:11-cv-00518-RCJ-VPC Document
                                             .     1 Filed
                                                     E     07/20/11 Page 6 of 15
'   $                                                j                                                                                .
                                                                                                                                      k
                                    '
                                                                                      f
                                                                                      :                                           .
                                                                       .
                                                                                      f
              '
                                                                                      !
                                             M ake a copy oftllispage to previdr tht below                                            ;
                                                                                      1
                              informationifyouarenaiingmorethapfive(5)defendants
            2)Def:ndantJim Pitts                   residesat7751W .Silverstreet,ElkoNV 89801
                        (fulInameoffirstdefendant)             ' (addressifflrs'  tdefendant)                                         '
              and isemploycd aa Elko CountySheriff                                    '    n ksdefendantissued in his/her
                                             (defendant'spositionandtitle,ifang)
                       individualx            Që cialcapacity.(Checkcneorbid  1
                                                                                l).Explainhow thisdefendantwas
            acting                                                                    J
                                                                                      1
             gn(jrrcojoroflaw :Thie Defendant'sdeputywas presenthhvnthe unwarranted seizure ofthe Plaintiffs'
                                             .
             Ilvestock took placee an ail
                                        ed to perform his duties ofoffice b 'allow i
                                                                                   n the seizure to take Iac
                             esene wl awarran OrO urtorderprlwjdingforsuchseizure.                                                    i
            5)DefondantJohnDoe 1o                   residesat775rW .Silverstreet.ElkoNV 89801                                         '
                        (fu11name offtrstdefendant)             l (addressiffirstdefendant)
              and isemployod asDeputySheriff                                          ' .'
                                                                                         Ihisdefendantissued in llis/her
                                             (dofendant'sposidonandtitle,ifany)
                       individualx            oo cialoapaoity.(Check oneorbàth).Explainhow thlsdefendantwas
            aoting                                                                    1
                                                                                      .
                                                                                      1                                               ,
             u
             undr
              nwar
                 rrG
                   aolor
                    nted0f
                        se'law;
                          izureoThti
                                   hseDef
                                        aein
                                       Pl  ndan
                                            ti
                                             f tlwa
                                             fs' ives
                                                  .
                                                      pc
                                                    store
                                                       .
                                                        kst
                                                          e
                                                          onok
                                                             tun
                                                               plder
                                                                 aceoarn
                                                                       dd
                                                                        er
                                                                         tja
                                                                           fr
                                                                            io mt
                                                                             led hee
                                                                                to Cl
                                                                                    ltkbr
                                                                                        omCou
                                                                                           hisntduSh
                                                                                                  tiee
                                                                                                     sroi:fwh
                                                                                                           oflienthe                  1
                                                  e   ctlfe O a e PaLe Wlthotltfirs.
                                                                                   tbeing presented with awarrarlt()rcptlrt
             Ordef                                                                  1
            4)DefkndantJim conneily               residesats16 EaglecreekDr.,springcreek,Nv 898:5
                        (f'
                          u11nameofGrstdefendant)            (
                                                             1
                                                                  (addressiffirstdefendant)
              anulsemployeuasNevadastatebranuinspector                                1 .ngsdefendantissued inhis/her
                                             'tdofondant'spositionandtitle:ifarkyl                   '
              x Jndividual                       omcialcapacity.(Check.oneorbàthl.Bxplainhow thisdefendantwas                         j
                                                                                      l                                               .
                                                                                                                                      1
            aGting                                                           )                                                        :
                                            Thi
                                              sDefendantallowedtheunwarrantebsei4ure,tfansport,andsaleofthePl
                                                                                                            aintiffs'                 I
              Mnder
              llvestoc(2lor
                       kto taOf
                              keIaw
                                 plac:einvi
                                          olationofhisdutiesundertheNevà.daRevisedStatutes                                            1
                                                 Is e proce ure an         emorandum 6fUnderstandingwith the BLM .                    i
                                                                                      !                                               t
                                                                                      i                                               .
            sloerendantoennisaournigan                                 residosatH.ç.zoaoxsxo.uamoile,xv a9a2a
    .
                              (/11nameorsrs.
                                           tdqfendant)                                1 (addressifsrstdefendant)
              and 5semployed asDeputyarand lnspector                                  I .n-
                                                                                          hisdetknuantissued in his/her
                                        .        (uofendant'spoàitionandtitle,ifmlIyl                                         '
              x.       inuividual                 oë ciafcapacity.(CheckoneQrbothl'Explainhow thisdefendantwms
            aoting
                                                                                  I
                                                                                  1
                                                                                                                                      I
                                                                                      I
                              z.j.- . Thj
                                        s Defendantall
                                                     owedthe unwarranted seizureand trans
                                                                                       or
                                                                                        lofthe Plain' '
        '
              jIvnetsle
                   .
                       rtltllor01law;
                          j
                                                                        .
                      tocktotakepîacelnvlolatlonofhisdtltiesundertheNevâdaRevisedBtatue
                                                                                                                                      j
                                                           ure an   emorandtlm OfUnderstanding with the BLM                           t
        '                                                                   2         j


        :
                                                                                                                                      !
                                                                                      l                                               :
                                                                                      1
        :
                                                                                      i
                                                                                      1
                              .                                                       1
                                                                                      1
                   Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 7 of 15
    I       >                                                                                                              $


                                                                              I
    .




                6)DefendantJaneDoe1                   residesatadéressunknown .                                     '
                                                                                                                           .
                                                                                                                           i
                            (911namecffirstdefendant)                (addressirfirs-tdefendant)
                  and is employed msBLM Law Enforcement                       .     Thisdefendantissued in his/her         ;
                                        (defendant'spositionandtitle,ifanl)                                                i
                  x individualX         om cialcapacity.(Checkonrorbo
                                                                    'th).Explainhow thisdefendantwas                       ?
                acting                                                        '

                 undercoloroflaw .
                                 'Tbis Defendantparticipated i
                                                             n the unwa/ranted seî
                                                                                 zure,transport.and sale of
                 the Plaintiffs'Ii
                                 vestock pursuantto inform aiestablisheö procedure and regulation.


                T)Jurisdictionisinvokrdpursurtto28U.S.C.û1343(a)(3)and42U.S.C.jl983.Ifyouwish                              '
                toassertjurisdictionundrrdifl-
                                             orentoradditionalstatutes,ljstthem below.                                     1
                                                                                                                           I
                25 U.S.C .478
                                                                              !

                                                                              1

                                                                              :

                                                  B . NATURE OF TW R CA
                                                                      1 sE                                                 .
                                                                      .                                                    1
                1)       Brieflystatethebackground ofyourcase.                .                                            .
                                                                              i
                         Raym ond Yowellisa Shoshone lndian and w ard oftbe United Statesand isa memberoftheTe-M oak
                tribe ofthe W estem Shoshone lndians ofNevada (enrolmentnumber00042)whose principîe occupation
                i
                s a cattle rane er. Throughouthis Ii
                                                   fe Mr.Yowellhasturned his
                                                                           'Iivestock outto graze on the historic
                                                                                                                           i
'               grazingl
                       andsassociatedwiththeSouthForklndianReservation.Throughoutthe1980s,theBLM                           l
                                                                                                                           l
                aqemptedtogetanIndiangrazingassociationtosignapermittàgrazeIivestock,butneverapproached                    l
                                                                                                                           .
        '
                Mr.'Yoweldir ectl
                                y.Mr.Yowelhasneveratt  emptedtoobt
                                                                 ainapermi tbecausetheprocl
                                                                                          omati on
                establishingtheSouthForkIndianReservation(Feb8,1941)pursuanttotheIndianReorganizationAct
                                                                                                                           I
                                                                              !                                            I
                statesthatthe reservati
                                      oaca'
                                          m e ''
                                               togetherwith aIIrange.and rapges.and range watering rights of
                everynam e,nature,kind anddescription used in connection'
                                                                        'withthedescribed boundaries ofthe
                                                                           !                    '
                reservation and assuchM r.Yow ellwasonlyexercisinghistreatyguaranteed vested Iights to be a herdsm an
                and reservationalestablished rightsto grazehisIivestock on the ranges. Inthe 1990s.the BLM began sending   I
                aflegationsoftrespassto Mr.Yowellwhich Mr.Ybwellanswered and tofdthem ofhisrights.On May24.2002,           '
                                             thenamedandunnameöDefendintsabovestceont.l
                                                     C.CA USE OF A W IO N                                                  '
                                                                              :
                                                                  T            '
                                                                              f'
                                                                                                                           j
                                                                                                                           I
                                                                                                                           I
           Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 8 of 15
    '                                                                 ,




                                                  CO UNT I       '
                n e follow lng civilrightshasbeen violated:4th Amendmentguarantee againstunwarranted
        seizure ofproperty.                                           i
                                                        -                                             J         p




                SupportingFacts:Elncludeallfactyouconsiderimportant..Statethefactsclearly,
                 inyourown words,and withoutoiting lcgalauthofity orargum ent. Be sure you
                 describerxactlywhateachspecificdefendantl'byf
                                                             lame)didtoviolateyourright
                                                             I
                                                                                      -s).
                                                                      i                                         h
        RobertAbbey,Hel
                      en Hankins,Cook Utah ofDuchesne,John Dpe 1,John Doe2,John Doe 3,John
                                                                      '                                         k
        Doe 4,John Doe 5,John Doe 6,John Doe 7,John Doe 8,John Doe 9,Jane Doe 1,Jim Pitts,John
        Doe 10,Jim Connelly,DennisJournigan violatedthe Plaintiffs'4thAm endmentrightsw hen theyacted
        togetherin concerton May24.2002and sei zed 132 head of'  the,Plaintiffi cattle while the catlle were
        grazing on theirhistoric grazing lands. The sei
                                                      zure ofthese cattle took place withouta warrantorceourt
        orderproviding forthe seizure ofthePlainti
                                                 ffs'livestock and only pursuantto an informalestablïshed       g
        procedure.The seized livestockwere then transpoded overMr.
                                                                 'Yowell'
                                                                        s objedion 300 milesbysaid              r
        Defendantsto a BLM holding corralin Palomino ValleyNevada.l
                                                                      p




                                                                      i                                         I
                                                                                                                I
'
                                                                      t
                                                                      .                                         j
                                                                                                                l
                                                                                                                i
                                                                      I
                                                                      .
                                                                                                                l
                                                                                                                l
                                                                      I




                                                                                                                1
                                                                      ï
                                                                      ;




                                                                      1
                                                            4
                                                                      I


                                                                      '
                                                                                                                :
                                                                                                                )
                                                                                                                i
                    Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 9 of 15                                       '
                                                           ,
    .
        ..
                                                                                 j




                 n e following civilrightshasbeen violated:5tb and 14th Amendmentguarantees ofdue process of
                 Iaw.                                                                .

                                                                                 1
                                                                                 I
                                                                                 1
                         Supporting Factq:t
                                          'lncludeaIlfactyouconsiderimp
                                                                      'ortant.Statethefactsclearly,
                         in yourown w ords,and w ithoutoiting legalauthor'
                                                                         ity orargum ent. Br suroyou
             '           describeexactlywhateachspeoiticdeftndant(bypame)didtoviolateyourrights).
                 RobertAbbey,Helen Hankins.CookUtah ofDuchesne,John D6e 1,John Doe 2,John Doe 3,John                        ;
                 Doe 4,John Doe 5,John Doe6,John Doe 7,John Doe 8,John Doe 9,Jane Doe 1,Jim PittsjJohn
                 Doe 10,Jifn Connelly,DennisJoum igan violated the Plaintiffs'5thAmendm entrightswhentbeyacted
                                                                               E
                 in conceed with oneanotherand deprived the Plaintiffofthe ri
                                                                            ghftodisputethe underlying basisof
                 the charge: alleged againsthim.Mr.Yowellwas presented witia bi
                                                                              llforthecostsofqatherinq.
                                                                           j                                       '
                 transporting,and alleged trespassfeesand told to paysuchanamountby M ay30,2002 orhis cattle                '
                                                                             llwas nevergiven any opportunity to
                 would be sold and the procqedz retained by tNe BLM . Mr.Yowel
                                                                               p
                 dispute the underlying basis forthe seizureofhis I
                                                                  ivestockpriorto theirsale. The above named
                                                                                 i
                 Defendantsal
                            so vi
                                olated M r.Yowell
                                                's rightswhen theyad ed in çeoncerttotranspoftMr.Yowell's
                                                                         .   .   2
                 livestockwithouthispermission,and inviolation ofthe Nevada Revised Statutes,the 300 m ilesto
                                                                 -
                                                                                 ;
                 the Palom ino Valleylocation.M r.Yowell
                                                       's cattlew ere sold on May31,2002 bythe above named
                                                                                 f
                 Defendantsw ithoutMr.Yowell's perm ission orhis signature on lthe Brand Inspection Clearance
                 Certi
                     ficate Nos.6415-38,6415-40 in violation ofthe Nevada Rei
                                                                            vised Statutes (N.R.S.565-120). Mr.Yowell       -
'
                 neverauthorized anyagentto signon hisbehalf.Theabove namI ed Defendantsviolated the Plainti
                                                                                         --                ffs'
                                                                                                                            jj
                 rightsto due processw hen theyterm inated M r.Yowel
                                                                   l's ownership rightsto his Iivestockwithout              '
                 havingjurisdidionoverMr.Yowell,aShoshoneIndian,orhisprbpertywithoutproviding Mr.Yowell                 '   '
                 anopportunityforapre-deprivati
                                              onhearing,andonlypursuantkoaninformaç,establishedprocedure
                 ofignoringwellJesnedConstitutitmalguaranteesar/dstatelawlprocesses.
                                                                                 l
                                                                                 l
                                                                                 j                                          '




                                                                     5           t       '
                                                                                 ;
                                                                                 '



                                                   '
                                                                                 i
                                                                                                    .

                                                                                                                            )
                                                                                 l
                                                                                 ;
                                                                                 l
                                                                                 I
  Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 10 of 15




                                             COUNT m          i
                                                              !
                                                              1
The following oivilrightshasbeen violated'
                                         .Adicl
                                              e 6 oftheConstituti
                                                                onwhereintreaties are                 ,
                                                              I
established asthe supreme Iaw ofthe l
                                    and.                      i
                                                              ;



        SupportingFacts:glncludeal1factyouconsiderimp
                                                    :ortant. Statcthefactsolearly,
         in yourow n words,and withoutoiting legalauthority orargum ent. Be sure you
        describeexactlywhateachspecificdefendant(byù
                                                   Iame)didtoviolateyourrights).
RobertAbbey,Helen Hankins,Cook Utah ofDuchesne,John D6e 1,John Doe 2,JohnDoe3,John
Doe 4 John Doe 59John Doe 6 John Doe 7,John Doe 8.JohnrDoe 9, Jane Doe 1,Jim PittsiJ'ohn
Doe 10,Jim Connelly,DennisJoum igan violatedthe Plaintiffs'Adi
                                                            ! cl
                                                              -e 6 rightswhenthey acted
in Goncertwith one anotherand deprived the Plaintiffofhi
                                                       s treaty guaranteed rights to be a herdsm an
                                                              i
and agriculturalist.The TreatyofRubyValleywassigned bythe W estem Shoshone lndians and the
                                                              k
Uni
  ted StatesofAm erica on O dober111863.Article 6 ofthe TreatyofRubyValley providesthat               k
thePresidentoftheUS willestablishareservationwhenhedelmsexpedientandthattheShoshone                   7
                                                              1
willabandon theirnomadicwaysand becomeherdsman oragrièulturalist.The lndian Reorgani
                                                                                   zation             '
Ad ofJune8.1934 providedthatauthori                     (the purpose ofestablishing lndian
                                  tyto purchase Iands for
Reservations. On February8,1941the South ForkW estern Shoshone lndian Reservationwas
createdandprovidesthatallrange,rangas,andrangewateringlrightsareincludedasparloftheSoutb
ForkReservation.Plainti
                      ffwasexercisinghistreatyguaranteedlvestedri
                                                                ghtstobe aherdsmanwhen
                                                              .                                       I
hetum ed hiscattleoutto grazeonthe historicranges ofthe Sotlth Fork Indian Rese&ationin May
of2002.TllePlaintiffsrightspursuanttotreatyw'
                                            éreviolatedbyltheabovenamedDefendantswl
                                                                                  xerl                l
they seized his Iivestock on M ay 24.2002 withouta warrantorcour
                                                             ; torderand withouthaving .
                                                                                       lurisdidion
over t
     herangesonwhichthePlaintiffs'l
                                  ivestockweregrazing. 1                                              '
                                                       ,
                                                              1
                                                             (
                                                              1


                       X ntinued on additional-qaqesa.....1
                                                          j........
              D.PREVIOU S LAW SUITS AND AD                        STM TIVE RELIEF
1)     HaveyouGledotheractionsinstateorfederaloourisinvolvingthesameorsimilarfacts
       as involved in this actîon? X        Yes        N o. Ifyourans-weris t$Yes'',describe eaoh
                                                              1                                       l
        lawsuit. (Ifmorethanone,describetheotherson anadditionalpagofollowingthebelow
                                                  u          '           .
     Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 11 of 15



                                                                 :


                                                                 :
             outline).                                           .                                     $
                                                                                                       .
             a)    Drfendanta:UnitedstatesofAmeric.a .                                                 l
                                                     1
             b)    Nameofcourtanddocketnumber:USCFC 08-368-C                                           i
                                                                                                       r
             c)    Dîsposition (forexample,wasthecasedismissed.appealed orislt,511pending?):
                    CasewasdismissedforIackofsubjed matterjtirisdidi
                                                                   on
                                                                 i
             d)    lssuesraiséd:takings                      .


                                                                                                       :
             e)    Approximated.teitwasfiled:May22,2008 .                                              '
             f)    Approximatedateordispnsition:odober9,2oos

                                                                 (
    2)       Haveyoutiledanaotioninfederalcourtthatwasdismkssed becauseitwa.
                                                                           sdetermined to
             be frivolous,m alicious,orfailed to state a claim upon w hich reliefcould be granted?
                  Yes X     No.Ifyoklfanswrris%çYes''.describeeaohlawsuit.(lfyouhadmorethan            .
             threeactionsdism issedbasedontht abovereasons,describetheothersonanadditionalpage         .
             followingthebelow outline.)          .              j
                                                                 :
             Law suit#1dism issed asffivolous,maticious,orfailed to slate a claim :
                                                                 i
             a)     Drfendants:                                  ,                                 .
             b)     Nameofcourtandcasenumbcr:           ;                                         .
                                                        '                                              j
             0)     Tllecasewasdismissedbecauseitwmqfoundtobe(cheokone):                  frivolous
                          m alicious or    failed to slatea claim upon which reliefcould be grantcd.   1

             d)     lssueesraisod:                                                                     :
                                                                                                       ?
                                                                                                       l

             e)     Approxîmatedateitwastiled:
             f)     Approximatedateofdisposition:
                                                                 ;
                                                                 ;
             Lnwsuit$2 dism issed asfrivolous.m alicious,orfailed to s'
                                                                      tate aclaim :
                                                              1                                        d
             a)     Defendants:                               .
                                                              '                                    .
             b)     Nameofcourtandcasenumber:                                                      .
'
                                                                                                       j
                                                              1
                                                      7                                                l


                                                                                                       !

         .                                                    !
                                                                                                                   t
              Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 12 of 15                                   i
.        .                                                           .                                             r
                                                                                                                   1
    ,;




                  0)     Thecasewasdismissedbecauseitwasfoundtobe(checkone):                     frivolous         I

                                mali
                                   ci
                                    ousor failedtostateaclaifnuponwhichrel
                                                                         iefoouldbegranted.                        I
                  d)     Issuesraised'
                                     .                               .
                                                                                   -                               I
                  e)     Approximatedate: itwassled:                                   --
                  :
                  i)     Approximatedateofdssposition:
                                         :                                                                         i
                  Lawsuit#.
                          3 dism issed asfrivolous,m alicious,orfalled to state aclaim :
                                             :                                                                     i
                  a)     Defendants: .                                                                    .        I
                                      :                     .                                                      i
                  b)     Nameofcourtandcmqenumber:          ,                                             .        i
                  c)     n ecasewasdislissedbecauseitwastbundtobe(cheok one):                    frivolous
                                             '
                                m aliciousor      failed to statea claili
                                                                        n upon which reliefcould be granted.
                  d)     Issuesraised: :                                          ..
                                                                                                               '   ,
                                             ..
                                             .

                                             E
                                                                     -
                                                                     -
                                                                                                                   j
                                                                                                                   r
                                                                                                                   j
                  e) Approximatedate:i
                                     twastil
                                           ed: .                     .                                             I
                  f)     Approximatedateofdisposition:               ,

             3)   Haveyou attempted to résolvethedisputestated in'thisaction by seeking relieffrom the
                  properadministvativeofïicialsze.g.,haveyouexhatlstedavailableadministrativegrievanoe             '
                                             :                       .
                  prooedures?      Yes x : N o.Ifyouransweris':'
                                                               N*03',did you notattemptadm inistrative
                                             '
                  relierbeoauseti!edisput, involvedthevalîdit.
                                                             y ofa:(l)         disciplinary hearing;(2)
                  stateorfederaloourtdelision;(3)         stateorfedbrallaw orregulation;(4)         parole
                  board decision;or(5) '
                                       .otherNoadministrativeremedyoffered
                  Ifyouransweris''Yes'',p:rovidethefollow ing inform ation.G rievanoeNum ber               .
                                                                     7
                  oateandinstitution whozegzievancuwasfiled                                                .

                  Responsr to grievance: '                                                                         h
                                             :
                                              '
                                         .
                                              '
                                              .                      )                      j                      1
                                              k                                             :                      j
                                                           :         .                      '
                                                                                                                   I
                                                                                                                   1
                                                                     .                      l
                                                                                            '

                                                                                                                   j
                                                                                                                   i
                   Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 13 of 15
.   ,
        t'
             ê
                                                                                                                        j
                                                                                                                        i
                                                                           L




                                                                                                                        I
                                                                                                                        I
                                                 E.REQIJEST FOR RELV F
                               lbolieve tllatIam entitled to the fbllewing relief;
                        M onetarydam àgesforthe violati
                                                      onofm yConsti
                                                                  tutional:Treatyguaranteed vested rights,              .
                        Statutorilyguaranteed trustresponsibili
                                                              tyri
                                                                 ghtsas award ofthe Uni
                                                                                      ted Statesin the amountof

                        $30,000,000(thirtymill
                                             iondollars).                                                               j



                                                                           1


                                                                           J

                               Iunderstand thata false statem entoransw er'to any question in thiscom plaintw ill       ,
                        subjectmetopenaltiesofpetury. IDECLARE UNDER PENAT.TY OF PE                               Y
                        U NDER TFIE LA W S OF TR E UNITED STATES OF AM EW CA TH AT TITE
                        FOREGOG G ISTRUE AND CODQEU I'.See28U.S.C.û 1746and 18U.S.C.j1621.

                                                                                                   J                    ?
                        lNameofPersonwhoprepartdorhelped                                 (SignatureofPlaintiftl
                         preparethiscomplaintifnotPlaintio .
                                                                            7   -
                                                                                     lF..-.//
                                                                                                 O ate)
                                  (Additionalspaceifneeded;identify whaiisbeingcontinued)                               .
                 Section B continued onattached pages.                               .
                 Section C continued on attached pages.
                                                                                                                        i




                                                                                                                        l



                                                                                                                      ' j
                                    '                           p




                                                                                                                        $
                                                                            I
'




        Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 14 of 15




    (Continuedfrom SectionB.NatureoftheCmse.l
    mssem bled ata location w here M r.Y ow ell's Iivestock w ere grazing and the D efendants           .'
    proceededtoroundup(gather)M r.Yowell'slivestocky andseizethem withoutawarrant
                                                            '                                           '
                                                                                                        i
    orcourtorderproviding fortheseizureofM r.Yowellsglivestock only pursuantto a
    tfN otice of intentto im pound''issued pursuantto regulationsofthe BLM w hich have no
    authority overthe ranges confirm ed by the proclam ation establishing the South Fork
    lndian R eservation. M . r.Y owell'slivestock were then tfansported over300 m ilesto a
    B LM facility in Palom ino V alley N evada. M r.Y ow ellw'as nevergiven notice or
    opportunity to dispute the tm derlying basisofthe allegationsagainstM m ,only given a
    ttbill''fortheseizure,transport,and alleged trespassfeeiin excessof$150,000 and told
    to pay up or his livestock w ould be sold on M ay 31,2002. M r.Y ow ell'sow nership
    interestin the livestock wasterm inated by the above nam ed Defendantsundercolorof                  .
    1aw andthelivestockweresoldonM ay 31,2002.Mr.Yowell,knowingofanearly
    identicalsituation concentrated on filing a tttakings case''to recoverthe dam ages he               '
    incurred and on M ay 22,2008 filed suitin the U nited Sl tesCourtofFederalC laim s,
    (CaseNo.08-368-C).TheUSCFC dismissedthissuitJn April29,2009forlackof
    julisdictionoverthematter.Mr.YowelltiledaM otionI
                                                    toReconsiderthisdecision.On
    October9,2009,theM otion to Reconsiderwmsdenied,but.unforttmately theCouzl's
    decision w ms neversentto M r.Y owell. ln January of2010,M r.Y owellcalled the clerk
    oftheUSCFC and inquired astothestatusofhiscase,and wasinform ed thatM r,
    Y ow ell's M otion had been denied. M r.Y ow ellsenta lçtterto the Clerk ofthe U SCFC
    requesting a copy ofthe decision denying the M otion to Reconsider,butw ms never                    :
    provided one by the ClerkortheCourt,and had tt   ?obtain one from athird party,

    (Continuedfrom SectionC)
                                            C ountIV
    The follow ing civillighthas been violated: Breach ofTrustofthe Indian Reorganization           '
    A ctof 1934.                                          '

                                                            '
                                                                                                        !
    S                                                                                                   l
     upporting Facts:                                       ,                                           1
                                                                                                        '
    RobertAbbey,HelenHankins,CookUtahofDuchesne,   'JohnDoe1,Jolm Doe2,Jolm                             i
    Doe3,JohnDoe4,JohnDoe5,JohnDoe6,Jolm Doel,Jolm Doe8,Jolm Doe9,Jane                                  l
    Doe1violatedthePlaintiffs'rightsasawardoftheUnitedStateswhentheyfailedto                            j
    perform theirtrustresponsibilityasagentsoftheTrusteeofthePlaintiffasestablished by
    thelndianReorganizationActof1934(11tA)(25U.S.C'
                                                  .478).lnSection5ofthelllA,it
    statesthatt6-l-itleto any landsorrightsacquired pursuanito thisActshallbe taken in the
    nam e ofthe U nited States in trustforthe lndian tribe or'individualIndian forw hich the
    land is acquired,and such lands or rights shallbe exem ptfrom State or localtaxation.''
    On February 8,1941the South Fork W estern ShoshoneIndian Resew ation wascreated                     1
    by proclam ation and theboundarieswereparticularly described in theproclamation
    togetherwith ççallrange,ranges,and range watering rightsofevery name,nature,kind
    anddescriptionusedinconnectionwiththeabovedescribedpremises.''Mr.Yowellwas                          p
    grazing his Iivestock on the ranges historically used in connection w ith the South Fork            I
    W estern ShoshonelndianReservation.By interferingQ thM r.Yowell'sfreeenjoyment                      '
    ofthe historic ranges in his capacity msa W estern Shoshone lndian,the above nam ed         '


                                                                                                        i
                                                            .                                           !
               Case 3:11-cv-00518-RCJ-VPC Document 1 Filed 07/20/11 Page 15 of 15                            !
                                                      .
.   l   @




            Defendants+sagentsoftheUnited Statesviolated theUnited States'trustresponsibility
            to M r.Yowell.                                                                                   '

                                                   CauntV
            The follow ing civilrighthmsbeen violated: 5'band 14thA m endm entguarantee ofdue                '
            processoflaw.                                                  -

            Supporting Facts;
            RobertAbbey,Helen Hankins,Cook U tah ofD uchesne,John D oe l,John D oe 2,Jolm
            D oe 3,Jolm Doe 4,John D oe 5,John Doe 6,Jolm Doe 7,John D oe 8,John D oe 9,Jane
            Doe 1aDepartm entoftheTreastu'y,FinancialM anagementService,Allied Interstate,
            Incz,PionterCreditRecoveryalnc.,TheCBE group,lnc.violated thePlaintifps5tband
            14''' Amendmentrightstodueprocesswhenthey actedii1concertwithoneanotherby                        l
            seizing tht Plaintiff's livestock w ithouta w arrantorcourtorder,selling the livestock at
            below m arketprices,and then attem pting to collecta deficiency based upon the alleged
            debtallegedly owed by M r.Yowell. n e Departm entoftheTreasury,Financial
            M anagem entServiceunderdirection ofthe Bureau ofLand M anagem entattem pted to
            collectover$180:000 from M r.Yowellforthe costsallegedly owed by M.r.Yowell. M r.
            Yowellwasnevergiven an opportunity to defend againptthetmderlyingbasisofthe                      l
                             .

            chsaponde
            re  rgesadga
                       tins
                        hatt
                           thlm,
                            he allnordtodebt
                                  ege    chall
                                             we
                                              nge
                                              as  the
                                                 notavagi
                                                     lelidi
                                                         ti
                                                          mtyao
                                                              tef
                                                                t he
                                                                 de a.llThe
                                                                   bt   egedDdeepar
                                                                                bt.tmMr.Yo
                                                                                      entofwell
                                                                                           the               I
                                                                                                             .
            T remsury,tothebestofthePlaintiff'sknowledgethenassignedthecollectionofthe
            alleged debtto A llied lnterstate,Inc. A llied Interstate attem pted to collect1he alleged
                                                                                                             j
            debt,butM .r.Yowellresponded with a letterand inform ed them thatitwasnota
            legitimatedebt. Subsequently,PioneerCreditRecovery,Inc.attempted to collectthe
            alleged debt,butM r.Yowellresponded with aletterand informed them thatitwasnota
            legitim ate debt. Subsequently n eCBE group,lnc.attem
                                                                ' pted to collectthealleged debt,
            butM r.Yowellresponded w101aletterand inform ed thçCBE group,Inc.thatitwasnot                    I
            alegitim atedebt. Subsequently,theDepartmentoftheTreastlry,FinancialM anagement                  I
            Serviceonoeagainattemptedtocollectontheallegeddebt.Mr.Yowellonceagain                        .   i
            responded in a letterto the D ept.ofTreasury and once again inform ed them thatitw ms
            nota legitim ate debt. The D ept.ofTreasury once again'ignored M r.Y ow ell's letterand
            informed M r.Yowellthatitwould bededucting aporliin ofhisSocialScctlrity paymcnt
            in ordertopay forthealleged debt.M r.Yowellresponded with a letterand inform ed the              '
            Dept.ofTremsury thattheiractionswereunlawfulbecause the actionsviolated 28 U.S.C.
            j407.n eDepartmentofTreasuryignoredMT.Yowell'slettersandonApril1,2008
            began deducting l5% ofhisSocialSecurity paym entwithouttirstproviding him an
            opportunity fora hearing to challengetheunderlying bajisoftllealleged debtin violation
            ofthe 5'baild 14tbAmendm ent'sguaranteesofdueprocess. The Plaintiffcontinuesto                   ;
                                                                                                             '
            sufferdam agesm onthly asoftim eofthe filing ofthiscomplaint.                                    '

                                                                                               *             ;



                                                                      -
                                                                                                             j
                                                                                                             t
